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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

JONATHAN VILMA                                                         CIVIL ACTION

VERSUS                                                                 NO. 12‐1283

ROGER GOODELL                                                          SECTION “C”(3)




                                   ORDER AND REASONS

       This matter comes before the Court on a motion to dismiss pursuant to Rule

12(b)(6), or, alternatively, to strike pursuant to the Louisiana Anti‐SLAPP statute, La. C.C.

P. art. 971, filed by the defendant, Roger Goodell (“Goodell”). Having considered the

record, the memoranda of counsel, and the law, the Court has determined that dismissal

is appropriate for the following reasons.

       The plaintiff, Jonathan Vilma (“Vilma”), filed this suit in diversity setting forth

eleven claims against Goodell in his Complaint: (1) slander per se ‐ injury to professional

reputation; (2) slander per se ‐ injury to personal reputation; (3) slander per se ‐

accusations of criminal conduct; (4) slander by implication; (5) slander ‐ reckless

disregard/malice; (6) libel per se ‐ injury to professional reputation; (7) libel per se ‐ injury

to personal reputation; (8) libel per se ‐ accusations of criminal conduct; (9) libel by
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implication; (10) libel ‐ reckless disregard/malice; and (11) intentional infliction of

emotional distress. Rec. Doc. 1.

        In his Complaint, Vilma identifies six statements made by Goodell as

Commissioner of the National Football League (“NFL”) that were slanderous or libelous

and caused him extreme emotional distress:

        (1) statements in the March 2, 2012, NFL press release alleging that Saints

executives, coaches, and defensive players violated the “Bounty Rule” in 2009, 2010, and

2011;

        (2) statements in the March 2, 2012, report to the 32 NFL Clubs that Saints

defensive players pledged money toward the “Bounty Program” and targeted certain

opposing players for injury;

        (3) statements in the March 21, 2012, NFL press release detailing punishment

imposed on the Saints and Saints personnel and implicating unnamed defensive players;

        (4) statements in the March 21, 2012, memorandum to the 32 NFL Clubs

concerning the reasons for the punishment of Saints personnel;

        (5) statements in an April 24, 2012, interview on the NFL Network that the players

were involved in a Bounty Program; and

        (6) the May 2, 2012, NFL press release detailing punishment imposed on four


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players, including Vilma. Rec. Doc. 1.

       In this motion, Goodell seeks dismissal of the Complaint based on three grounds:

(1) the claims are preempted under Section 301 of the Labor‐Management Relations Act

(“LMRA”), 29 U.S.C. § 185;1 (2) they are barred by the mandatory, binding dispute

resolution procedures of the Collective Bargaining Agreement (“CBA”) with the NFL;2


       1
         Section 301(a) provides:
Suits for violation of contracts between an employer and a labor organization representing
employees in an industry affecting commerce as defined in this chapter, or between any
such labor organizations, may be brought in any district court of the United States having
jurisdiction of the parties, without respect to the amount in controversy or without regard
to the citizenship of the parties.
       2
        Article 3, Section 2 of the CBA provides:
The NFLPA agrees that neither it nor any of its members ... nor any member of its
bargaining unit, will sue, or support financially or administratively, or voluntarily provide
testimony or affidavit in, any suit against the NFL or any Club with respect to any claim
relating to any conduct permitted by this Agreement, or any term of this Agreement ... In
addition, neither the NFLPA nor any of its members ... nor any member of its bargaining
unit will sue or support financially or administratively any suit against the NFL or any
Club relating to the provisions of the Constitution and Bylaws of the NFL Rec. Doc. 23‐8
at 23.

        Article 43, Section 1 of the CBA provides:
Any dispute (hereinafter referred to as a “grievance”) arising after the execution of this
Agreement and involving the interpretation of, application of, or compliance with, any
provision of this Agreement, the NFL Player Contract, the Practice Squad Player Contract,
or any applicable provision of the NFL Constitution and Bylaws or NFL Rules pertaining
to the terms and conditions of employment of NFL players will be resolved exclusively in
accordance with the procedure set forth in this Article, except wherever another method of
dispute resolution is set forth elsewhere in this Agreement. Rec. Doc. 23‐8 at 203.


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and (3) they are inadequately pled. Alternatively, Goodell argues that the Complaint

should be struck under La. Code Civ. P. art. 971. The plaintiff opposes the motion.

       Federal Rule of Civil Procedure 12(b)(6) provides for dismissal if a plaintiff fails

“to state a claim upon which relief can be granted.” FED.R.CIV.P.12(b)(6). As the Supreme

Court held in Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2009), the Rule 8 pleading

standard does not require “detailed factual allegations,” but it does demand more than

“labels and conclusions” and a “formulaic recitation of the elements of [the] cause of

action.” Id. at 555 (citing Papasan v. Allain, 478 U.S. 265, 286 (1986)).   If the factual

allegations are insufficient to rise above the speculative level, or if it is apparent from the

face of the complaint that there is an insuperable bar to relief, the claim must be

dismissed. Id. at 555; Jones v. Bock, 549 U.S. 199, 215 (2007); Carbe v. Lappin, 492 F.3d 325,

328 & n.9 (5th Cir. 2007).

       When considering a Rule 12(b)(6) motion, a court must accept all reasonable



        Article 46, Section 1 of the CBA provides:
        Notwithstanding anything stated in Article 43:
        (a) All disputes ... involving action taken against a player by the Commissioner for
conduct detrimental to the integrity of, or public confidence in, the game of professional
football, will be processed exclusively as follows: the Commissioner will promptly send
written notice of his action to the player, with a copy to the NFLPA. Within three (3)
business days following such written notification, the player affected thereby, or the
NFLPA with the player’s approval, may appeal in writing to the Commissioner. Rec. Doc.
23‐8 at 220.

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inferences in favor of the plaintiff. Lormand v. U.S. Unwired, Inc., 565 F.3d 228, 232‐33 (5th

Cir. 2009).   A court may consider the contents of the pleadings, including attachments

thereto, as well as the documents attached to the motion to dismiss that are referred to in

plaintiff’s complaint and are central to his claims. Morgan v. Swanson, 659 F.3d 359, 367

(5th Cir. 2011); Dorsey v. Portfolio Equities, Inc., 540 F.3d 333, 338 (5th Cir. 2008).

       Vilma is a New Orleans Saints football player whose terms and conditions of

employment are governed by the NFL Player Contract3 and by the CBA negotiated

between the previously defined NFL and the NFL Players Association (“NFLPA”), along

with the NFL Constitution and Bylaws4 incorporated into the CBA. There is also no


       3
        Paragraph 15 of the standard NFL Player Contract provides:
Player recognizes the detriment to the League and professional football that would result
from impairment of public confidence in the honest and orderly conduct of NFL games or
the integrity and good character of NFL players. Player therefor acknowledges his
awareness that if he ... is guilty of any ... form of conduct reasonable judged by the League
Commissioner to be detrimental to the League or professional football, the Commissioner
will have the right, ... to suspend Player for a period certain or indefinitely. Rec. Doc. 23‐8
at 277‐78.
       4
        Article VIII of the Constitution and Bylaws provides the Commissioner with
authority that includes: “full, complete, and final jurisdiction and authority to arbitrate ...
[a]ny dispute involving ... players ... that in the opinion of the Commissioner constitutes
conduct detrimental to the best interests of the League or professional football”; “the
complete authority” to suspend a player after deciding that the player “has either violated
the Constitution or Bylaws of the League or has been or is guilty of conduct detrimental to
the welfare of the League or professional football ...”; to “interpret and from time to time
establish policy and procedure in respect to the provisions of the Constitution and Bylaws
and any enforcement thereof”; and the authority to establish and exclusively control a

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dispute that Goodell is sued as Commissioner of the NFL. Rec. Doc. 1 at 1.

       Preliminarily, Vilma argues in his opposition that “[t]his case has nothing to do

with the NFL’s discipline of Vilma” because Goodell’s “statements were not made within

the confines of any forum or procedure created by the NFL‐NFLPA CBA nor were they a

part of any duties or responsibilities of the Commissioner’s office.” Rec. Doc. 72 at 5.

Vilma maintains that Goodell is responsible for the allegedly offending statements “in

his individual capacity.” Id. The Court rejects Vilma’s argument, which is contradicted

by his own Complaint. Rec. Doc. 1. The Court finds that all of the allegedly offensive

statements were made by Goodell as Commissioner of the NFL in conjunction with the

investigation resulting in the now well‐known discipline against Vilma and others

associated with the Saints. Id. Vilma’s Complaint has not been amended since the May

17, 2012, filing of this suit, although he did recently accept a revised discipline that still

found he had engaged in conduct detrimental to the game of football, though it imposed

no suspension or fine. Rec. Docs. 169, 170‐71, 174.




Preemption

       The defendant’s argument that all of Vilma’s defamation and intentional infliction


Public Relations Department for the League. Rec. Doc. 23‐9 at 24‐25.

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of emotional distress claims are preempted is supported by ample Fifth Circuit caselaw.

Generally, claims that require the interpretation of a collective bargaining agreement are

preempted by the LMRA. Reece v. Houston Lighting & Power Co., 79 F.3d 485, 487 (5th Cir.

1996); Smith v. Houston Oilers, 87 F.3d 717, 718‐719 (5th Cir.1996); Stafford v. True Semper

Sports, 123 F.3d 291, 296 (5th 5th Cir. 1997); Bagby v. General Motors Corp., 976 F.2d 919, 921

(5th Cir. 1992); Strachan v. Union Oil Co., 768 F.2d 703 (5th Cir. 1985).

       Vilma argues in opposition that the state‐law claims do not require an analysis of

the terms of a CBA. Rec. Doc. 72 at 12. He focuses on the fact that a number of the

allegedly defamatory statements were made prior to Vilma himself being formally

discliplined. Rec. Doc. 72 at 17. The Court disagrees with Vilma’s characterization and

argument for the following reasons. Goodell’s disclipline, imposed first upon the

nonplayer staff of the Saints and ultimately upon Vilma, was based upon the same

underlying investigation into the so‐called “Bountygate” allegations. Goodell’s

discipline, against both players and staff, resulted from that investigation, which likewise

is based upon the CBA and related documents. Vilma’s claims for defamation and

intentional infliction of emotional distress have to be evaluated through the lens of what

the CBA allows Goodell to do. Reece, 79 F.3d at 487‐88.

       A defamation claim cannot survive a motion to dismiss when it arises out of an


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arbitration involving discipline. Bagby v. General Motors Corp., 976 F.2d 919, 921 (5th Cir.

1992); Weber v. Lockheed Martin Corp., 2001 WL 274518, at *7 (E.D. La. 2001) (noting that

defamation claims are typically preempted when the claim is about the employee’s

conduct in a disciplinary action under a collective bargaining agreement or when the

alleged conduct occurred in the context of an arbitration proceeding). Vilma relies on

cases in which non‐defamation claims were not preempted. Wells v. General Motors Corp.,

881 F.2d 166, 173 (5th Cir. 1989) (claims for verbal fraudulent inducement, independent

of the CBA ); Jones v. Roadway Express, Inc., 931 F.2d 1086 (5th Cir. 1991) (retaliatory

discharge claim did not require an interpretation of the CBA). The Fifth Circuit in Bagby

noted that those cases were inapplicable and unpersuasive. Bagby, 976 F.2d at 921, note

7.

       Here, even according to the plaintiff’s own Complaint, the defamation claims are

directly related to Goodellʹs decision to suspend, that is, discipline Vilma, pursuant to the

CBA arbitration procedure. Moreover, the defamation claims and the claim for

intentional infliction of emotional distress would require interpretation of multiple

portions of the CBA, not just the non‐suit provision in CBA Art. 3, section 2, as Vilma

contends. As set forth hereinabove, for example, the CBA authorizes Goodell to suspend

a player for what he considers ʺconduct detrimentalʺ and also authorizes him to


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investigate actions that he suspects constitute ʺconduct detrimental.ʺ Vilma’s argument

that the statements were made in Goodellʹs individual capacity is unpersuasive as

Goodell was sued as Commissioner of the NFL and all of the statements attributed to

Goodell were made in connection with the NFLʹs investigation of the

pay‐per‐performance/bounty allegations. Therefore, Vilma’s claims are preempted and

must be dismissed.




Sufficiency under Rule 12(b)(6)

       In addition, the Court finds that all of Vilma’s claims fail to meet the 12(b)(6)

standard because assertions of malice and of outrageous conduct are insufficient

conclusory allegations. In the Complaint, Vilma alleges per se slander and libel on the

ground that the statements injured his professional reputation, or because they accused

Vilma of criminal conduct. For all defamation claims, including the non‐per se claims,

Vilma makes the conclusory statement that the Goodellʹs statements ʺwere made with

reckless disregard of their truth or falsity and/or with malice.ʺ Rec. Doc. 1 at ¶¶ 48, 54, 60,

66, 72, 78, 84, 90, 96, 102. The only facts he alleges in support are some version of the

following: ʺGoodell had no reasonable grounds for believing the truth of his Statements.

Goodell relied on, at best, hearsay, circumstantial evidence and lies in making the


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Statements.ʺ Id. at ¶¶ 67, 73, 97, 103.

       As for the intentional infliction of emotional distress claim, Vilma makes the

conclusory statement that ʺGoodellʹs Statements and conduct were extreme and

outrageous.ʺ Id. at ¶106. He makes no further allegation in support.

       As a public figure, Vilma has the burden of showing that Goodell made the

statements with ʺactual maliceʺ under both Louisiana and New York law. Starr v.

Boudreaux, 978 So. 2d 384, 390 (La. Ct. App. 2007); People ex rel. Spitzer v. Grasso, 801

N.Y.S.2d 584, 586 (N.Y. App. Div. 2005). Vilma alleges that the suspension and the appeal

were so procedurally flawed that no reasonable person could have believed the

statements were true. However, the statements themselves indicate that they were based

on an extensive investigation. See Young v. Meyer, 527 So. 2d 391 (La. App. 4 Cir. 1988)

(ruling for defendant where alleged defamatory statements were made after investigation

of the information prior to publication). While the Court is extremely disturbed by the

fundamental lack of due process in Goodell’s denying the players the identities of and the

right to confront their accusers, that was substantially rectified later in the process. So

while the process was initially procedurally flawed, the statements were ultimately found

to have enough support to defeat the defamation claims.

       As for Vilma’s claim for intentional infliction of emotional distress, the Fifth


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Circuit has affirmed dismissal of such a claim where the complaint only made aʺbare

assertionʺof outrageous conduct. Stallworth v. Singing River Health Sys., 2012 WL 1192816,

at *2 (5th Cir. 2012). The conduct must be so ʺegregious as to shock the conscience.ʺ Jones

v. Trump, 971 F. Supp. 783, 787‐788 (S.D.N.Y. 1997). Here, the claim must fail because,

unlike the defamation claims, Vilma does not even allege facts beyond the conclusory

statement that Goodellʹs conduct wasʺextreme and outrageous.ʺ Rec. Doc. 1 at ¶ 106.

       Even though this matter has been pending only since May of this year, it feels as

protracted and painful as the Saints season itself, and calls for closure. The Court

nonetheless believes that had this matter been handled in a less heavy handed way, with

greater fairness toward the players and the pressures they face, this litigation and the

related cases would not have been necessary.

       Accordingly,

       IT IS ORDERED that the motion to dismiss pursuant to Rule 12(b)(6) filed by

Roger Goodell is GRANTED. Rec. Doc. 23.

       New Orleans, Louisiana, this 17th day of January, 2013.



                                                  ____________________________________
                                                  HELEN G. BERRIGAN
                                                  UNITED STATES DISTRICT JUDGE



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